             Case 2:24-cv-03327-LGD Document 3 Filed 05/09/24 Page 1 of 1 PageID #: 32

AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   Eastern District of New York

  DALIT COHEN and MELANIE WOHL on behalf of                       )
    themselves and all others similarly situated,                 )
                                                                  )
                                                                  )
                            Plaintijf(s)
                                                                  )
                                                                  )
                                 V.                                       Civil Action No. 2:24-cv-03327 -LGD
                                                                  )
             ELIXIR COSMETICS OPCO, LLC                           )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) ELIXIR COSMETICS OPCO, LLC,
                                   c/o CSC - Lawyers Incorporating Service
                                   2710 Gateway Oaks Drive
                                   Sacramento, CA 95833




          A lawsuit has been filed against you.

         Within 21 days after se1vice of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States desc1ibed in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must se1ve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                       Michael D. Braun, Esq.
                                       Kuzyk Law, LLP
                                       2121 Avenue of the Stars, Ste. 800
                                       Los Angeles, CA 90067


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the comt.

                                                                             BRENNA B. MAHONEY
                                                                             CLERK OF COURT


Date:     5/9/2024                                                                     ~dta,~·
                                                                                      Signature of Clerk or Deputy Clerk
